      Case 2:14-cr-00315-JCM-VCF            Document 100        Filed 03/15/18     Page 1 of 3




 1   RENE L. VALLADARES
     Federal Public Defender
 2   State Bar No. 11479
     NISHA BROOKS-WHITTINGTON
 3   Assistant Federal Public Defender
     411 E. Bonneville, Ste. 250
 4   Las Vegas, Nevada 89101
     (702) 388-6577/Phone
 5   (702) 388-6261/Fax
     Nisha_Brooks-Whittington@fd.org
 6   Attorney for Terry Rawstern

 7
                                 UNITED STATES DISTRICT COURT
 8
                                      DISTRICT OF NEVADA
 9
10   UNITED STATES OF AMERICA,                               Case No. 2:14-cr-315-JCM-VCF-2

11                  Plaintiff,                               STIPULATION TO CONTINUE
                                                               SENTENCING HEARING
12          v.
                                                                   (Second Request)
13   TERRY RAWSTERN,

14                  Defendant.

15
16          IT IS HEREBY STIPULATED AND AGREED, by and between Dayle Elieson, United
17   States Attorney, and Kathryn C. Newman, Assistant United States Attorney, counsel for the
18   United States of America, and Rene L. Valladares, Federal Public Defender, and Nisha Brooks-
19   Whittington, Assistant Federal Public Defender, counsel for Terry Rawstern, that the
20   Sentencing Hearing currently scheduled on March 29, 2018 at 10:00 a.m., be vacated and
21   continued to a date and time convenient to the Court, but no earlier than seventy (70) days.
22          This Stipulation is entered into for the following reasons:
23          1.      Undersigned counsel needs additional time to gather mitigation information for
24   Mr. Rawstern and prepare the sentencing memorandum. Counsel will also be out of the office
25   from March 26 - March 30, 2018, as her office is undergoing renovations. Additionally,
26   Mr. Rawstern had recent surgeries involving his ankles and knee which affect his mobility. A
      Case 2:14-cr-00315-JCM-VCF            Document 100        Filed 03/15/18     Page 2 of 3




 1   continuance is further requested to allow Mr. Rawstern time to recover from his surgeries before
 2   traveling to Las Vegas for his sentencing hearing.
 3          2.      The defendant is not in custody and does not oppose a continuance.
 4          3.      The parties agree to the continuance.
 5          This is the second request for a continuance of the sentencing hearing.
 6          DATED this 12th day of March, 2018.
 7
 8    RENE L. VALLADARES                              DAYLE ELIESON
      Federal Public Defender                         United States Attorney
 9
10        /s/ Nisha Brooks-Whittington                    /s/ Kathryn C. Newman
      By_____________________________                 By_____________________________
11    NISHA BROOKS-WHITTINGTON                        KATHRYN C. NEWMAN
      Assistant Federal Public Defender               Assistant United States Attorney
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
                                                     2
      Case 2:14-cr-00315-JCM-VCF         Document 100         Filed 03/15/18    Page 3 of 3




 1                              UNITED STATES DISTRICT COURT

 2                                  DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                              Case No. 2:14-cr-315-JCM-VCF-2
 4
                   Plaintiff,                                          ORDER
 5
            v.
 6
     TERRY RAWSTERN,
 7
                   Defendant.
 8
 9
10          IT    IS     ORDERED          that        the    s e n t e n c i ng hearing currently

11   scheduled for Thursday, March 29, 2018 at 10:00 a.m., be vacated and continued to Monday,

12   June 11, 2018 at 10:00 a.m.

13          DATED this
                  March_______ day of March, 2018.
                          15, 2018.

14
15
                                               UNITED STATES DISTRICT JUDGE
16
17
18
19
20
21
22
23
24
25
26
                                                  3
